                Case 22-14766-SMG         Doc 77     Filed 12/06/22     Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION


INRE:
RALPH SANDERS                                                 CASE NO.:22-14766-SMG

                Debtor.                                               CHAPTER 13
_______________!

    OBJECTION TO Mr, Brook's EMERGENCY MOTION TO WITHDRAWAL AS
                      COUNSEL FOR THE DEBTOR
COMES NOW, the undersigned, moves this Honorable Court to deny the debtor counsel

Motion to Withdraw as Counsel for the Debtor and states:


1. Mr. Brook's request to withdraw from my active case would create an undue hardship


2. Mr. Brook's plan three was put into effect without all the necessary requirements in place.

This is creating an undue hardship in litigating a title insurance matter. The title insurance

action is a court asset in my case.



3. A Foreclosure attorney is needed,



4. The last time I was sent on an attorney search took excessively.


                             CERTIFICATION OF LOCAL RULE 2015:1
    1. The emergency nature of this motion is that the Debtor has a confirmation hearing on

       December 8, 2022, and it is unknown whether the Court wants to allow the Debtor more

       time to find a state court counsel while this case is pending or to allow the Chapter 13

       plan to be confirmed. A Motion for Relief from Stay has been filed by negative

       notice
               Case 22-14766-SMG       Doc 77     Filed 12/06/22    Page 2 of 2



       [D.E 64] on November 15, 2022, and the undersigned has filed a response [D.E 67] on

       November 17, 2022. The Motion for Relief from Stay will be heard on December 8,

       2022.

       The debtor filed a response at the Fort Lauderdale Federal Courthouse on December 5,

       2022


   WHEREFORE, the undersigned request this Honorable Court grant this Motion to

Withdraw as Counsel for the Debtor and for such further relief as the Court deems appropriate.




                                                   Ralph L. S
                                                   561 S.W. th Ave
                                                   Plantation, FL 33317
                                                   (754)801-7097
